Case 24-50792-hlb Doc 635 Entered 12/13/24 08:47:17 Page 1 of 30

NVB 3001 (Effective 1/21)

UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEVADA ig tcele) ey
i BOSTON be

Name of Debtor: Case Number:

META MATERIALS INC. 24-50792

1. Name and address of holder of the Equity Interest (the person or entity
holding an Equity Interest in the Debtor. Referred to hereinafter as the 01 Check box if you are aware that anyone
“Interest holder”): else has filed a proof of interest relating to

GREGORY BALNOSCHAN your interest Attach copy of statement
CARLA BALNOSHAN, TEN COM @ Check box if you have never received
4715 MESQUITE MEADOW LN any notices from the bankruptcy courtog j ©

the Debtors in this case. aA .
KATY, TX 77494-3235 hes
0 Check box if this address differs from
Telephone Number: (61 4) 562-9574 the address on the envelope sent to you by
the Debtors.

NOTE: This form SHOULD NOT be used to make.a claim against the Debtor for money owed. A separate Proof of Claim
form should be used for. that purpose. This form should only be used to assert an Equity Interest in the Debtor. An Equity.
Interest is any right arising from any capital stock and any equity security in any of the Debtor. An equity security is defined
in the Bankruptcy Code as (a) a share in a corporation whether or not transferable or denominated stock or similar COURT USE ONLY
security, (b) interest of a limited partner.in a limited partnership, or (c) warrant or right other than a right to convert, to
purchase, sell, or subscribe to a share, security, or interest of a kind specified in subsection (a) or.(b) herein,

Account or other number by which Interest holder identifies Debtor: Check here if this claim:

ETRADE BROKERAGE ACCOUNT: XXX-XX8565-201 C1 replaces a previously filed Proof of Interest dated:
25,523 SHARES (256 SHARE POST 100:1 SPLIT) $42,061.86 C1 amends a previously filed Proof of Interestdated:

2. Name and Address of any person or entity that is the record holder for 3. Date Equity Interest was acquired:
the Equity Interest asserted in this Proof of Interest:

ETRADE - MORGAN STANLEY - SMITH BARNEY LLC
PO BOX 484 JERSEY CITY, NJ 07303-0484
Telephone Number: (800) 387-2331

MULTIPLE DATES
SEE ATTACHED DOCUMENTATION

4. Total amount of member interest: 256 Shares ($42,061.86) 5. Certificate number(s)SEE ATTACHED DOCUMENTATION
PRESPLIT SHARES 25,523

6. Type of Equity Interest:
Please indicate the type of Equity Interest you hold:
Mf Check this box if your Equity Interest is based on an actual member interest held in the Debtor.
O Check this box if your Equity Interest is based on anything else and describe that interest:
Description:_INVESTOR

7. Supporting Documents: Attach copies of supporting documents, such as stock certificates, option agreements, warrants, etc.
DO NOT SEND ORIGINAL DOCUMENTS. If the documents are not available, explain. If the documents are voluminous, attach a summary.

8. Date-Stamped Copy: To receive an acknowledgement of the filing of your Proof of Interest, enclose a stamped, self-addressed envelope and copy of this Proof of

Interest.
9. Signature:
Check the appropriate box.
® \amthecreditor. 1 I am the creditor’s authorized agent. (J I am the trustee, or the debtor, 3 I am a guarantor, surety, endorser, or othercodebtor.

(Attach copy of power of attorney, ifany.) or their authorized agent. (See Bankruptcy Rule 3005.)
(See Bankruptcy Rule 3004.)

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information, and reasonable belief.

Print Name: GREGORY BALNOSCHAN & CARLA BALNOSHAN (TIC) Aw

Title: 4 QS
Company:__ Address and telephone number (if different from notice Z “A. (GOSp\aon—

address above): (Signature) =

Telephone number: 614-562-9574 email: gbalno00@gmail.com

Penalty for presenting fraudulent claim is a fine of up to $500,000 or imprisonment for up to 5S years, or both. 18 U.S.C. §§ 152 AND 3571
Case 24-50792-hlb Doc 635 Entered 12/13/24 08:47:17 Page 2 of 30

December 4, 2024

US Bankruptcy Court

Foley Federal Building & U.S. Courthouse
ATTN: Clerk of the Court

300 Las Vegas Bivd, South

Las Vegas, Nevada 89101

RE: NOTICE OF REDACTION, Proof of Interest Form & Supporting Documents
CASE NO: 24-50792
To: Clerk of the Court,

My name is Gregory Balnoschan and | hereby submit this NOTICE OF REDACTION for
PROOF OF INTEREST FORM and SUPPORTING DOCUMENTATION in the matter of Meta
Materials Inc., Case Number 24-50792. Per instructions by The Honorable Hillary L.
Barnes, United States Bankruptcy Judge, and out of an abundance of concern for misuse of
my personal information, | request all but the last four (4) digits of my account numbers be
redacted from my Proof of Interest form and supporting documentation.

Per instructions, | have included with this filing an unredacted and redacted version of the
POI form and all supporting documentation and a personal check for the $28 processing
fee.

Thank you for your consideration in this matter.

Lok oa

4715 Mesquite Meadow LN
Katy, TX 77494-3235

Gbalno00@gmail.com
Case 24-50792-hlb Doc 635 Entered 12/13/24 08:47:17 Page 3 of 30

Dear Christina W. Lavato, Trustee December 4, 2024

Gregory Balnoschan
4715 Mesquite Meadow Ln
Katy, TX 77494

Subject: Meta Materials Inc. Bankruptcy — Proof of Interest
CASE NUMBER: 24-50792

Please find in package enclosed the following documentation in support of my Proof of Interest as an
Investor in Meta Materials and Please note that there is both a UNREDACTED COPY and a REDACTED
COPY of each document and a copy for acknowledgement/return receipt.

- Signed NVB 3001 Form —Case # 24-50792

- Signed NVB 3001 Form ~- Case # 24-50792- REDACTED COPY

- Exhibit 1A: Detailed purchase data For ETRADE Self-Direct Brokerage Account (represents
share count after 100:1 reverse split 1/29/2024) including amount of loss.

- Exhibit 1B: Detailed purchase data For ETRADE Self-Direct Brokerage Account (represents
share count after 100:1 reverse split 1/29/2024) including amount of loss with Account #
REDACTED Except for last 4 Digits of Account Number.

- Exhibit 2A: ETRADE Self-Direct Brokerage Account Dated 12/31/2023 statement showing
details of 25,523 shares owned at a cost of $42,061.86

- Exhibit 2B: ETRADE Self-Direct Brokerage Account Dated 12/31/2023 statement showing
details of 25,523 shares owned ata cost of $42,061.86 with Account # REDACTED Except for
last 4 Digits of Account Number.

- Exhibit 3A: ETRADE Self-Direct Brokerage Account Dated 1/31/2024 statement showing
details of 256 shares owned at a cost of $42,061.86 post the 100:1 Reverse Split on 1/29/2024

- Exhibit 3B: ETRADE Self-Direct Brokerage Account Dated 1/31 /2024 statement showing
details of 256 shares owned at a cost of $42,061.86 post the 100:1 Reverse Split on 1/29/2024
with Account # REDACTED Except for Last 4 Digits of Account Number.

. Exhibit 4A: ETRADE Self-Direct Brokerage Account Dated 9/30/2024 showing details of 256
shares owned at a cost of $42,061.86 post the 100:1 Reverse Split on 1/29/2024

- Exhibit 4B: ETRADE Self-Direct Brokerage Account Dated 9/30/2024 showing details of 256
shares owned at a cost of $42,061.86 post the 100:1 Reverse Split on 1/29/2024 with Account
Number REDACTED Except for Last 4 Digits of Account Number.

- Notice of Redaction

- Personal Check in the amount of $28.00 for processing the Notice of Redaction.

- Self-Addressed, stamped envelope for acknowledgment / return receipt

Please advise if you have any questions or need any further information. My contact details are shown
below and on the NVB 3001 form.

Regards

boul alex

Gbalnod0@gmail.com
614-562-9574

Case 24-50792-hlb Doc 635 Entered 12/13/24 08:47:17 Page 4 of 30

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Case 24-50792-hlb Doc635 Entered 12/13/24 08

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Case 24-50792-hlb Doc 635 Entered 12/13/24 08:47:17 Page 8 of 30

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Case 24-50792-hlb Doc 635 Entered 12/13/24 08:47:17 Page 9 of 30

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17 Page 10 of 30

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Case 24-50792-hlb Doc 635 Entered 12/13/24 08

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Case 24-50792-hlb Doc 635 Entered 12/13/24 08:47:17 Page 11 of 30

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Case 24-50792-hlb Doc 635 Entered 12/13/24 08

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Case 24-50792-hlb Doc 635 Entered 12/13/24 08:47:17 Page 13 of 30

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Case 24-50792-hlb Doc 635 Entered 12/13/24 08:47:17 Page 14 of 30

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Case 24-50792-hlb Doc 635 Entered 12/13/24 08:47:17 Page 15 of 30

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Case 24-50792-hlb Doc 635 Entered 12/13/24 08

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Case 24-50792-hlb Doc 635 Entered 12/13/24 08:47:17 Page 17 of 30

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Case 24-50792-hlb Doc 635 Entered 12/13/24 08:47:17 Page 18 of 30

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Case 24-50792-hlb Doc 635 Entered 12/13/24 08:47:17 Page 19 of 30

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Case 24-50792-hlb Doc 635 Entered 12/13/24 08:47:17 Page 20 of 30

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Case 24-50792-hlb Doc 635 Entered 12/13/24 08:47:17 Page 21 of 30

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Case 24-50792-hlb Doc 635 Entered 12/13/24 08:47:17 Page 22 of 30

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Case 24-50792-hlb Doc 635 Entered 12/13/24 08:47:17 Page 23 of 30

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Case 24-50792-hlb Doc 635 Entered 12/13/24 08

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Case 24-50792-hlb Doc 635 Entered 12/13/24 08:47:17 Page 25 of 30

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Case 24-50792-hlb Doc 635 Entered 12/13/24 08:47:17 Page 26 of 30

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Case 24-50792-hlb Doc 635 Entered 12/13/24 08:47:17 Page 27 of 30

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Case 24-50792-hlb Doc 635 Entered 12/13/24 08:47:17 Page 28 of 30

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Case 24-50792-hlb Doc 635 Entered 12/13/24 08

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Case 24-50792-hlb Doc 635 Entered 12/13/24 08

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